Jul/27/2020 2 21 55 PM                         Seattle Cancer Care Alliance 2                                   3/7




        to get the protester to safety while avoiding engagement with the officer. I approached with my
   2    hands out and visible, my fingers widespread so that law enforcement could sec that I wasn't
   3    holding anything. I didn't reach toward or even make eye contact with the officer pinning the
   4    protester, or with the other officers near him. I just crouched down and began to try to pull the
   5    protester up the retaining wall and onto the lawn, where I could get him away from the crowd
   6    and assess his injuries.
   7             9.      The next thing I knew, I was on the ground. Someone had hit me hard enough to
   8    knock me over. In the chaos of the moment, I didn't see who it was, but when I later reviewed
   9    video footage of this incident, I saw that it was likely the officer adjacent to the one beating the
  IO    protester, holding a canister launcher.
  11             10.     At the same time, the officer beside him-who had just watched me be
  12    pushed over-pepper sprayed me directly in the face. I was not a threat, I was not
  13    dangerous, I was not breaking anything, or hurting anybody. I am a nurse.
  14             11.     I had taken thorough coronavirus precautions and was wearing an N95 mask and
  15    a pair of ski goggles, which thankfully protected me from the worst of the spray's effects. But
  16    even so, I was blinded: it coaled my goggles, and the skin ofmy face began to burn.
  17             12.     Somehow, I still managed lo get ahold of the injured protester and drag him by his
  18    armpits onto the lawn. We then staggered away to safety, and another medic rushed over lo
  19    assist him. I took a moment to recover on my own.
  20             13.     A video recording of this incident was posted on Twitter by a journalist. See
  21    Tweet by Simone Del Rosaiio at 6:26 PM on July 25, 2020:
  22    https://twitter.com/SimoneReports/status/1287197567772553216.
  23             14.     Once I was satisfied that !he protester was safe, I again began observing the
  24    ongoing conflict as law enforcement continued to force protesters west. The police were using an
  25    astonishing amount of force. To me, the crowd did not appear threatening; it seemed like the
  26    officers were being aggressive purely for the purpose of forcing protesters to retreat.

         BARRETT DECL. ISO MOT. FOR                                                   Perkins Coie LLP
         CONTEMPT (No. 2:20-cv-00887-RAJ) -3                                    1201 Third Avenue, Suite 4900
                                                                                  Seattle, WA 98101-3099
                                                                                    Phone: 206.359.8000
        l48989374.l                                                                  Fax: 206.359.9000
